                 Case 2:16-cr-00485-MCA                                Document 35                    Filed 09/29/16                      Page 1 of 1 PageID: 46

 ‘ruCJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT APPOINTED COUNSEL (Rev. 5/99)
I. CIR.’DIST./ DIV. CODE                  2. PERSON REPRESENTED                                                                    VOUCHER NUMBER
                                                                 LISA POPEW[NY
3. MAG, DKT. DEF. NUMBER                              4. DIST. DKT.’DEF. NUMBER                     5. APPEALS DKT.rDEF. NUMBER                        6. OTHER DKT. NUMBER
                  16mj6083-1
7. IN CASE MATTER OF ((‘are Name,)                    8. PAYMENT CATEGORY                           9, TYPE PERSON REPRESENTED                         10. REPRESENTATION TYPE
                                                      X Felony                 Petty Otlense        )t Adult Defendant               E Appellant              (See Instructions)
      US V. LISA POPEWINY                             0 Misdemeanor          0 Other                0 Juvenile Defendant             0 Appellee                   CC
                                                      fl Appeal                                     fl Other
It. OFFENSE(S) CHARGED (Cite U.S. Code. Title & Section) Ifmore than one offynse, list (up to jive,) major offenses charged, according to severih’ of offense.
      18: 1343     -   FRAUD BY WIRE
12.   ATTORNEY’S NAME t’First Name, MJ., Last Name, including any sn//Cr).                          13. COURT ORDER
      AND MAILING ADDRESS                                                                                0 Appointing Counsel                          QC       Co-Counsel
      Thomas FX Dunn, Esq.                                                                               F   Subs For Federal Defender                    R     Subs For Retained Attorney
      LaW Office of Thomas F.X. Dunn                                                                 x P Subs For Panel Attorney                          Y Standby Counsel
      225 Broadway
      Suite 1515                                                                                    Prior Attorney’s                               Jplin Wi’ipple          Eq
       New York, NY 10007                                                                              Appointment                           !7!2fl1 f
                                                                                                         Because the above-named person represented has testified under oath or has otherwise
      Telephone Number                                  212—941—9940                                satisfied this Court that he or she ( I) is financially unable to employ counsel and (2) does not
                                                                                                    wish to waive counsel, and because the interests ofjustice so require, the attorney whose
14, NAME AND MAILING ADDRESS OF LAW FIRM (Only provide per instructions)                            name appears in Item 12 is,ggTito represent this person in this case, OR
                                                                                                         Other (See Instrucli is,)


                                                                                                                     S   ature o     re iding Judicial Orncer or By Order of the Court

                                                                                                                      9/29/20 16
                                                                                                                    Date of Order                               Nunc Pro Tune Date
                                                                                                    Repayment or partial repayment ordered from the person represented for this service at time
                                                                                                    appointment.        0 YES       E NO
                          CLAIM FOR SERVICES AND EXPENSES                                                                                     FOR COURT USE ONLY
                                                                                                              TOTAL                MATRTECH.             MATH.TECH.
        CATEGORIES (Attach itemization oJ’sers’ices wit/i dates)
                                                                                    HOURS                                                                                          ADDITIOA
                                                                                                                                                                                         N L
                                                                                                             AMOUNT                  ADJUSTED             ADJUSTED
                                                                                   CLAIMED
                                                                                                             CLAIMED                  HOURS               AMOUNT
15.     a. Arraignment and!or Plea
        b. Bail and Detention Hearings
        c. Motion Headns
        d.Thal
        e Sentencin, Hearings
        f Revocation Hearings
        g. Appeals Court
        Ii Other (‘Specify on additional sheets)
        IRATE PER HOUR = $                                ‘    TOTALS:
16.     a. Interviews and Conferences
        b. Obtaining and reviewing records
        c. Legal research and brief writing
        d Travel time
        e Investikative and other work (Specify on additional sheets)
        (RATE PER HOUR = S                              )   TOTALS:
17      Travel Expensea (lodging pat king meals mileage etc)
18      Other Expenses (other than expert hansc,zpts etc)
GRAND TOTALS (CLAIMED AND ADJUSTED)
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                        20. APPOINTMENT TERMINATION DATE                               21. CASE DISPOSITION
                                                                                                          IF OTHER THAN CASE COMPLETION
                                                         TO:
22. CLAIM STATUS                        Final Payment              Interim Payment Number                                                Supplemental Payment

      Have you previously applied to the court for compensation and or reimbursement for this         YES         NO          If yes. were you paid?         YES          NO
      Oilier than from the Court. have you. or to your knowledge has anyone else, received payment (compensation or anything of vahie.) from any other source in connection with this
      representation?       YES      fl NO            If yes. give details on additional sheets.
      I swear or affirm the truth or correctness of the above statements.
      Signature of Attorney                                                                                                                Date

                                                          APPROVED FOR PAYMENT                        —      COURT USE ONLY
23. IN COURT COMP.                      24. OUT OF COURT COMP.           25. TRAVEL EXPENSES                 26. OTHER EXPENSES                       27. TOTAL AMT. APPR. CERT.

28. SIGNATURE OF THE PRESIDING JUDICIAL OFFICER                                                              DATE                                     28a. JUDGE/MAG. JUDGE CODE

29. IN COURT COMP.                      30. OUT OF COURT COMP.           31. TRAVEL EXPENSES                 32. OTHER EXPENSES                       33. TOTAL AMT. APPROVED

34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Paynmenl approved                               DATE                                     34a. JUDGE CODE
      in excess of’the statutoly threshold aniomit.
